       Case: 5:20-cv-01795-SL Doc #: 13 Filed: 01/15/21 1 of 2. PageID #: 62



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO

 SYMBOLOGY INNOVATIONS, LLC,
                                                   Civil Action No.: 5:20-cv-01795-SL
            Plaintiff,

       v.                                          TRIAL BY JURY DEMANDED

 CHICK-FIL-A, INC.,

             Defendant.
              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1), and hereby voluntarily dismisses all of the claims asserted against

Defendant Chick-fil-A, Inc. in the within action WITH PREJUDICE. Chick-fil-A, Inc. has not

served an answer or a motion for summary judgment.

       Counsel for Defendant has reviewed and approved this dismissal.

 Dated: January 15, 2021               Respectfully submitted,

                                       SAND, SEBOLT & WERNOW CO., LPA

                                       /s/ Andrew S. Curfman
                                       Andrew S. Curfman (SBN 0090997)
                                       Aegis Tower – Suite 1100
                                       4940 Munson Street NW
                                       Canton, Ohio 44718
                                       Phone: 330-244-1174
                                       Fax: 330-244-1173
                                       andrew.curfman@sswip.com

                                       ATTORNEY FOR PLAINTIFF
       Case: 5:20-cv-01795-SL Doc #: 13 Filed: 01/15/21 2 of 2. PageID #: 63




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on January 15, 2021, to all counsel of record who are deemed to have consented

to electronic service via the Court’s CM/ECF system.



                                                  /s/ Andrew S. Curfman
                                                  Andrew S. Curfman




                                              2
